Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 1 of 20

May 25" 2006

HON. WILLIAM M. SKRETNY
United States District Court

U.S. Courthouse

68 Court Street

Part IV, 5® Floor

Buffalo, New York 14202

Uniied States v. Peter Gerace

Dear Judge Skretny:

I would like to give you some background on Peter’s life that I believe reveals the true
person he is. My relationship with Peter is not only one of mother/son, but also as a business
consultant. He is instrumental to the successful running of both my businesses, Pietro’s
Ristorante, and Pharoahs. My husband is not able to assist me in running either business due
to a previous heart attack, as well as his current cardiovascular disease and diabetes. The
seriousness of these chronic illnesses does not allow him to endure any extra stress.
Therefore, since the opening of both businesses, my son Peter has taken on many
responsibilities that my husband has been unable to fulfill. Such responsibilities include
taking care of my bookwork, sales taxes, advertising, insurances, and computer entries, all of
which neither my husband nor I have the time, knowledge, or experience to do. It would be a
hardship for me to run cither business without him and I do noi have the finances to hire
anyone capable of fulfilling his tasks.

On a more personal, mother-son basis, I am very proud of the admirable family man
that Peter has grown to be. He grew up in a Catholic home and went to a Catholic grammar
and high school. As a child, he was never a trouble maker, and always did well in school. He
has always been close with his grandparents, respectful to elders, and a very well-liked person
because of his mannerism and genuine concern for others. He has two brothers who he is also
very close to. Of most importance in Peter’s life right now, though, is his five year old and
newborn son. He is very involved in both their lives and loves them dearly. It would be
devastating for him to be away from them for any length of time.

I know that Peter is genuinely remorseful and feels terrible about any anguish and

difficulties he has caused anyone. Although he used poor judgment regarding this matter, he
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 2 of 20

did not set out to intentionally deceive anyone. I hope and pray that you will show him
lenience and spare him from any jail time. He has suffered and stressed over this for quite a
while, as have ourselves and all our family. Please spare his children from the same.

Respectfully,

   
 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 3 of 20

May 25" 2006

HON. WILLIAM M. SKRETNY
United States District Court

U.S. Courthouse

68 Court Street

Part IV, 5" Floor

Buffalo, New York 14202

United States v. Peter Gerace
Dear Judge Skretny:

_ Tam Peter’s father and I would like to tell you about our relationship and how
much he means to me. He was my first born son and has always been close to me and his
family. I consider him to be a very good person, and since his childhood years, he has
been an excellent role model for his two younger brothers who he is also very close with.
He attended St. Andrew’s Grammar School and graduated from St. Joseph’s Collegiate
Institute. When he graduated, I was very proud of him and knew the foundation and
friendships he made there would stay with him throughout his life. He has never been in
any trouble with the law, and so when these charges were brought against him I was
understandably very shocked and upset. As is any father’s wish, I always tried to create a
positive name for our family which my children would be proud to carry on and instill in
their children. After all of our hard work, it would be disappointing to see our family
name tarnished.

My wife has two businesses which Peter is a very big help in. Due to my health
problems, I cannot take on any extra stress and also don’t have the knowledge to help or
do the things that Peter does for both businesses. | know my wife cannot manage either
business on her own and fear they will not be able to operate without Peter. They have
both worked very hard to make the businesses successful and it would be unfortunate to
see either of them have to close. We are also very concerned for the future of the many
employees and their families if either business could not operate due to Peter’s absence.
There are over 120 dedicated, hard working individuals employed by both companies.

Their livelihoods depend on Peter’s presence and knowledge in the companies.
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 4 of 20

Peter is very close with his two brothers and all his family. He has a five year old
son {soon to be six) and a six week old son who he loves very much and would be
devastated to be without for any length of time. In consideration of his clean record, I
beg you not to give him any jail time and allow him to move forward with his life. I
promise you you'll never regret your decision for I am confident that Peter has learned a
hard lesson from this and from here on out will forever live a law abiding life.

It’s very hard for me to watch my son go through this, and a part of me can’t heip
but feel like I am going through it also. Peter has been confiding in me and seeking
advice and support regarding this matter. Emotionally and physically it has taken a toil
on the both of us, as well as several other family members and close friends. I know that
one of Peter’s major concerns is the effect that the situation has had on his grandparents.
At 83 years old, any unwanted stress becomes a serious detriment to their health. They
have a very close, loving relationship with Peter, their first grandchild. If anything
happened to Peter, I’m afraid of what it would do to their health.

Thank you for any leniency you can give in your decision.
ectfully,

See ace.

Peter Gerace
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 5 of 20

June 11, 2006

To Whom It May Concern:

This letter is regarding Peter Gerace. My name is Deborah Gerace and I have known
Peter for 23 years and we were married for 8 years. Peter has always been a hard
working business man. He co-owns G&G Petroleum, he also co-owns Rascals
Restaurant which he leased out. He plays an active role at Pietro’s and Pharaohs which
are owned by his mother. Peter has provided for his family and he comes over to see his
son. He is very remorseful for what happened at Advanced Distributing and we have had
many conversations about how terrible he feels about his actions. He understands that
good people (customers of Advanced) were taken advantage of and he has a hard time
accepting that. If you have any questions please feel free to contact me at 689-6237,

Sincerely,

Deborah Gerace
Case 1:00-cr-00009-WMS-HKS Document 187-2 Filed 06/14/06 Page 6 of 20

Caner. 1: :00- cr-00009-WMS- HKS Document 182 _ Fipagpeteape. 0° be 2 of

| fp Ua diotiay -

Cam b2te Abner cpa rn hte | Ufa-ttn

ones Pett. hag heen a gord try 2

petit

Ahei We tg) Cth,

. [Bad + reegurteds

Mae feethin Ae.
he ometinn mardic eine Tt

ay rth, nan

wae tere

Posner ®
batten Ab. olotent

el natho?

ath ee ead atin

j hw
oo bade - oth bore fine dtaky.«

u

RECEIVED
WILLIAM M. SKRETNY

MAY 36 2006

United States District Court
Western District of New York

 
Case 1:00-cr-00009-WMS-HKS Document 187-2 Filed 06/14/06 Page 7 of 20

 

Case 1:00-cr-O0009-WMS-HKS Document 182 Filed 05/31/2006 Page 3 of 4

§T. LAWRENCE CHURCH

1520. East Delavan Avenue
Butfalo, NY 14275

718 892-2471 - Office

716 892-1315 - Fax

May 24, 2006

The Very Honorable Judge William M. Skretny

United States District Court — Western District of New York
304 US Court House

68 Court Street

Buffalo, New York 14202

Dear Judge Skretny:

 

Lam writing this letter of recommendation for Mr. Peter Gerace. I have
known Mr. Gerace and his family for many years, and I have celebrated many
sacraments for Peter and his family.

In the many years of knowing Peter, I have found him to be a man of
principle and moral character. He has strong religious values, which guide him
in his daily living as a Father, Business Owner and Community Leader. I have
always found Peter to be extremely honest, fair, and hard working. in being
a Police and Fire Department Chaplain for several agencies, there were times
I needed food for Police Officers, their families and other Law Enforcement
Agencies for line of duty deaths, or injuries on the job. Peter and his family were
very kind, generous, and loving in donating food and time in helping Police Officers
and their families.

Also, in the various parishes that I have been assigned Peter and his family
have always helped me with donating food to the needy, the elderly, the sick, and
forgotten. In having the resources to help those in need, Peter’s heart and soul
is always there in trying to bring some light and hope for people who are hurting
and experiencing difficult times.

Judge Skretny, I would give the highest moral, religious and character -
recommendation to Peter. In the years I have known him, ke is man of great
faith, values and ethical acumen. Hence, he has helped many in his community,
and is a role model for his soz in teaching him how te help and be considerate of

others.

I ffalo.

 
Case 1:00-cr-00009-WMS-HKS Document 187-2 Filed 06/14/06 Page 8 of 20

Case 1:00-cr-00009-WMS-HKS Document 182 Filed 05/31/2006 Page 4 of4

ST. LAWRENCE CHURCH

1520. East Delavan Avenue
- Buffalo, NY 14215

716 892-2471 - Office

716 892-1315 - Fax

 

If any Community Service can be offered to Peter, | would be most happy:
and willing to have Peter help me in my various parish duties: helping with our
parish food pantry in conjunction with the Food Bank, nursing home visitations
at St. Francis Nursing Home, and working with the sick children via “Cops Care”
in working with many police agencies in visiting homes, hospitals and rehab centers

for children with Police, Fire and Sports Personnel.

- Judge Skretny, I am most grateful for your time, and consideration in reading
this letter for Mr. Peter Gerace,

Sincerely, . Voy.
a a
‘Father Joseph F, Moreno |
www. stlawrencebuffaio.org

 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 9 of 20

Andzews, Bernstein & Maranto, LLP
Attorneys and Counselors at Law
69 Delaware Avenue, Suite 1200
Buffalo, New York 14202

 

Tel: (716) 842-2200
Fax: (716) 847-1134

Benjamin J. Andrews Of Counsel
Robert J. Maranto, Jr. Alan L. Bemstein
Richard A. Nicotra

Andrew D, Fanizzi

Andrew J. Connelly

June 9, 2006

To Whom it May Concern:

Please accept this letter as my letter of support for Peter G. Gerace, and my sincere request for
the Court to grant leniency in the upcoming sentencing of my lifelong friend.

By way of background, Peter and I first became friends when we were five year old kindergartners
at St. Andrews Country Day School in Tonawanda. Throughout grammar school, and then into high school
at St. Joseph’s Collegiate Institute, our friendship grew, and my trust and admiration for Peter advanced.

During the thirty-three (33) years of our friendship, Peter has always demonstrated to me...and
those who we have mutually come into contact with, personal honesty and integrity. At times in my
personal life when I have needed a friend to consult with, he has always provided a sound, non-judgmental
outlet. He is a true friend, both devoted and honest.

Peter has told me countless times that his biggest regret is the pain caused to the customers of
Advanced Distributing that were taken advantage of. Knowing Peter as I do, he will not forgive himself
for what occurred.

~ Asabridegroom at my wedding, and continuing forward, Peter has become an integral part of our
family. My children affectionately refer to him as “Uncle Peter”. Peter is also the Godfather of my son,
Bobby. As a devout Catholic, deciding on a Godparent for my children was, and continues to be, a
decision that I take very seriously. The decision made by my wife and I was undoubtedly the correct one.

 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 10 of 20

June 9, 2006
Page 2

In sum, the Peter Gerace who | know ts a devoted family man and friend. He is articulate and
witty, and provides positive energy to anyone with whom he comes into contact with. I truly believe that
justice, and the People, will be served by in this case by a sentence which does not include the presence
of Peter Gerace in a correctional facility.

Thank you for considering this letter in the making of your decision.

NTO, LLP

 

RJM
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 11 of 20

Joseph E, Parisi III
6302 Balsam Fir Court
Clarence Center, New York 14032

April 26, 2006

Hon. William M. Skretny
68 Court Street, Part 4
Buffalo, New York 14202

Dear Judge Skretny,

My name is Joseph E. Parisi Ili. I am a former Erie County Deputy Sheriff who
served in the 1970's and 80’s before starting my own business with my wife. I’ve
known Peter Gerace his entire life. Peter Gerace was born in the house next door to
mine in Tonawanda. He is a kind man and has always gone above and beyond to
heip peopie. He is dedicated to working for good causes that help to benefit those
less fortunate than himself. I even had the opportunity to help him work on a few of
his fundraising campaigns for Roswell Park and the Make A Wish Foundation several
years ago; both which turned out to be extremely successful.

One particular campaign that sticks out in my mind is when Peter worked to raise
funds for a family whose daughter had just finished chemotherapy and was told that
her cancer had gone into remission. You could see that the young girl and her family
had gone through a very difficult time in their lives. If only you could have seen -
their faces when they were told that Peter’s fundraising efforts had granted them the
ability to take an all expenses paid trip to Hawaii, a trip that they, themselves, were
unable to afford. I will never forget their smiles and their expressions of joy. This is
the Peter Gerace I know, this is Peter Gerace...he helps people.

I still speak with Peter just about every day. He has repeatedly expressed his
remorse over the money that people lost. I do not think that jail time would serve
any good purpose. He realizes that he committed a serious crime. He is a good
person who is very involved with his family and enjoys spending time with them. In
addition to being a family man, Peter is aiso a businessman in the community. He is
a vital part of Pietro’s Ristorante in Clarence. I think if he were to get any jail time
that it would adversely affect the jobs of many people in the community. Peter is
well known and a well liked individual and people come to see him at the restaurant.
If Peter is not there to operate his business, his Business will suffer and his
employees will run the risk of losing their jobs. I hope you can find it in your heart to
offer an alternative solution to this problem.

adseph & Parisi TT

. 6302 Balsam Fir Court
Clarence Center, New York 14032
716-903-4801

   
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 12 of 20

Cheryl L. Parisi
6302 Balsam Fir Court
Clarence Center, New York 14032

April 26, 2006

Hon. William M. Skretny
68 Court Street, Part 4
Buifalo, New York 14202

RE: Regarding Peter Gerace

Dear Judge Skretny,

My name is Cheryi L. Parisi. I have been a business owner in Erie County for over 20 years.
I've known Peter Gerace for over 30 years. I’ve always known him to be a kind man and a
man with a sense of humor. He also is a caring person who has always gone above and
beyond to help people. He is dedicated to working for good causes that help to benefit those
less fortunate than himself. He has run many fundraising campaigns for Roswell Park and the
Make A Wish Foundation, which always turned out to be extremely successful.

I still socialize with Peter regularly. He has repeatedly expressed his remorse over the money
that people lost. I truly feel that jail time would not serve any good purpose. He realizes that
he made a mistake. He is a good person with a big heart. He is very involved with his family
and enjoys spending time with them. In addition to being a family man, Peter is also a
businessman in the community. If Peter is not there to operate his businesses, his businesses
will surely suffer and his employees will run the risk of losing their jobs. I hope you can find an
alternative solution to this problem.

Thank you,
Cheryl L. Parisi
6302 Balsam Fir Court

Clarence Center, New York 14032
716-903-4804
Case 1:00-cr-00009-WMS-HKS Document 187-2 Filed 06/14/06 Page 13 of 20
SNYDER AND MICHALSKI

Attorneys and Counsellors at Law

3976 Seneca Street
West Seneca, New York 14224
(716) 675-1066

FAX (716) 674-4772

EDWARD J. SNYDER LEGAL ASSISTANTS
DEBRA A. RITZ

JOHN L. MICHALSKI . DENISE A. GATES
April 25, 2006 .

 

THOMAS A. NYITRAI, Of Counsel

United State District Court
Western District of New York
Attn: Hon. William M. Skretny
68 Court Street

Part IV, 5" Floor

Buffalo, New York 14202

Re: Peter Gerace

Dear Judge Skretny:

1 write to offer you the following information in support of my client
and friend, Peter Gerace in advance of his sentencing before you.

| have known Peter for close to ten (10) years now. We met
through a mutual friend with whom we are both still close.

Initially, Peter was just a client. | represented him in severai real
estate transactions and eventually his family in a business venture which transaction
took several months to consummate. During that period of time we were in contact.
daily and he impressed me with his attention to detail and business acumen.

| still represent him and his family regarding two (2) businesses, a
restaurant and an adult cabaret. Peter is actively involved in the day to day operation of
those entities and his absence from them would constitute a hardship on his family.

Over the course of our business relationship we also became
friends. | have had the opportunity to socialize with Pete over the years. In social
situations Peter is very engaging and has a great sense of humor.

Peter is also a fantastic Dad. | have observed him with his young
son and as a parent he is thoughtful, patient and kind. He ts also very excited about the
birth of his new baby boy. Our families have socialized together and it is a pleasure to
do so because together he and his sons are wonderful.

 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 14 of 20

Hon. William M. Skretny
Page Two
April 25, 2006

| cannot speak more highly of Peter. He is a great client, friend, son
and father. He is not perfect, however, as none of us are.

We have spoken at length about the mistakes we both have made
but in particular abut the mistakes he made which bring him before this Honorable
Court for sentencing.

He is extremely remorseful regarding the effect his criminal activity
has had on the victims of it. He understands and appreciates the consequences of his
actions and the hardship he created.

Nevertheless, it is my hope that the Court will fashion the
punishment it metes out in a compassionate manner that will allow Peter to continue to
work with and support his family, visit with his children (young son) and contribute
positively to the community as he has over his lifetime.

He is no risk to our community. He is merely a great person that
has made some mistakes for which he has accepted responsibility. As his attorney and

 

JOHN L. MICHALSKI
ATTORNEY AT LAW

JLM/dar

 
 

 

 

 

 

9276 Main St.
Suite 3A

u

Clarence

New York... :
14031 Bo
8

Phone:

716.759.1788

»
Fax:
716.759-1770

wwwinatelebuilders.com

Case 1:00-cr-O0009-WMS-HKS Document 187-2

Filed 06/14/06 Page 15 of 20

Date: 6/08/06

Hon. William M. Skretny
United States District Court
U.S. Courthouse

68 Court Street

PartlV, 5" Floor

Buffalo, N.Y. 14202

Re: United States v. Peter Gerace

Dear Judge Skretny,

My name is Angelo Natale with Natale Builders, and I am a friend of
Peter Gerace for the past 20 years and have been doing business in the community
for over 30 years. ] am writing this letter of referral not only as a character
witness, but as a concerned business person.

While my family has been in business in Western New York for some 40
years, I know the value of having a local business in the community is
immeasurable. Peter Gerace’s involvement in his business and the community has
shown an exemplary position as a community leader. I realize the situation that
had occurred to Peter as a youth. I don’t believe that at that time that the full
ramifications and damage were apparent to him because of his surroundings and
his age.

As amature adult, family man, and business person, I know that his
history has proven to help him grow as an adult and as a leader in the community.
Peter has several successful business’s, in Western New York and is a good
father, and anything to deter this momentum would serve as an injustice. I believe
he has learned from his mistakes and can prove to be a capable teacher because of
it.

Peter’s dedication to his family, business and employees, who rely on him,
serve as a pillar of strength to our community. Please allow this letter of referral
to represent a person who has learned from his past experiences and has proven
himself as a community leader.

Please feel free to contact me for any questions or concerned at 759-1788.

Sincerely

Angelo 8. Natale
President, NataleBuilding Corp.

 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 16 of 20

Daniel and Michelle Derenda
12 Dover Street
Buffalo, NY 14212-1616

April 21, 2006

Mr. Peter Gerace
135 Springmeadow Drive
Williamsville, NY 14221

Yo Whom It May Concern:

We would like to share our thoughts with you about Mr. Peter Gerace and-his character.

We’ve known him for about eighteen years and think he is a very kind, considerate and
respectful man. He is very hard working businessman who likes to be involved with
many activities at one time. He loves to spend time with family, especially his boys. He
always goes out of his way to help out whenever asked. He certainly poses no threat to
society. We think so highly of him that we had asked him to be the godfather to our
daughter Mia last year. My husband being a police officer and myself being a registered
nurse, think it’s important to surround ourselves and our family with good people. This
is why we continue to keep in close contact Mr. Gerace and his family.

Any more questions feel free to contact us at (716)896-9630.

Respectfully,

unl, AKO Vo a? lo Jon NL woh on

Mr. and Mrs. Daniel Derenda
Case 1:00-cr-00009-WMS-HKS Document 187-2 Filed 06/14/06 Page 17 of 20

Case 1:00-cr-00009-WMS-HKS Document179_ Filed 05/03/2006 Page 2 of 2

Michael P. Curran hy.
302 Delaware Street
Tonawanda, NY 14150

May 1, 2006

Hon. William M. Skretny Wc ae VED

68 Court Street, Part 4 iW M. SKRET Any
Buffalo, New York 14202 AY 9°

& 2005

Unitar: . 3 fatas

RE: Regarding Peter Gerace
Westen. Distr

District Co
ure
Cl OF New Yop.

Dear Judge Skretny,

My name is Michael P. Curran. I have been a business manager here in Buffalo for the past 6
years. I've known Peter Gerace for a number of years and have always found him to be a
kind, generous, selfless man. He has always dedicated himself to helping those less fortunate
and has always gone above and beyend to achieve his goals. He has dedicated a portion of
his life to working for good causes that help to benefit these in need. He has run many
fundraising carmpaigns for both Roswell Park and the Make A Wish Foundation; campaigns that
have brought about great success.

j still see Peter on a regular basis. He has repeatedly expressed his sincere remorse over the
money that people lost. I have seen how he has been able te lift the spirits of those who find
themselves in impossible situations. I truly feel that jail time for Peter would not be in his
best interest. He is very involved with his family as well as his business. Ef he is not around
to sufficiently run his businesses, his work will suffer and his employees may find themselves
without jobs. 1 truly hope that there can be another way to solve this problem.

Thank you,

   
 
     

Michael P. Curran Jr.
‘302 Delaware Street

Tonawanda, NY 14150
716-903-4804

 

 
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 18 of 20

Mr. Fox Tire Co., Inc.

1035 William Street
Buffalo, N¥ 14206
Phone: 716 856 1696
Fax: 716 852 2947

June 5, 2006

Hon. William M. Skretny
United States District Court
US Courthouse

68 Court Street

Part IV, 5" Floor

Buffalo, NY 14202

RE: United States v. Peter Gerace

Dear Judge Skretny:

My name is Eric L. Fox. i am CEO of Mr. Fox Tire Co., Inc., located i in downtown
Buffalo.

| have known Mr. Gerace for over 20 years, both personally and professionally.
He has always demonstrated reliability and trustworthiness. | have witnessed his
strength and compassion when dealing with his family and in particular, with his

son.

Thank you for your time and | would ask that you would consider leniency in this
situation.

Respectfully,

  
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 19 of 20

May 9, 2006

HON. WILLIAM M. SKRETNY
United States District Court
U.S. Courthouse

68 Court Street

Part IV, 5" Floor

Buffalo, NY 14202

RE: United States V. Peter Gerace

Dear Judge Skretny:

My name is Donald Parrino Co-owner of Pharaoh’s GC., Inc. I work in conjunction with
Peter Gerace.

My background is in Design and Floor Management. Mr. Gerace acts as the General
Manager and is vital to Pharaoh’s. He is the only person within the company who has
knowledge and vast experience to keep the company running. Without Peter I fear for the
future of Pharaoh’s, I am 70 years old and my hours limited. Peter does so much for the
company. He handles the book keeping, accounting, tax payments, banking, supply
ordering, advertising, scheduling, and needed repairs etc. during the day and manages
the club in the evenings where he is responsible for over 100 workers. These workers and
their families depend on the success of this company. Peter Gerace is the heart and soul of
its future. Because my background is in design, I would be unable to take over Mr.
Gerace’s responsibilities.

Respectfully, uv
Donald Parrino ae
Pharaoh’s GC., Inc.

716.565.2050
Case 1:00-cr-O0009-WMS-HKS Document 187-2 Filed 06/14/06 Page 20 of 20

May 9, 2006

HON. WILLIAM M. SKRETNY
United States District Court
U.S. Courthouse

68 Court Street

Part IV, 5° Floor

Buffalo, NY 14202

RE: United States V. Peter Gerace

Dear Judge Skretny:

My name is Robert E. Werner Jr. Assistant Manager of Pharach’s GC., Inc. I work in
conjunction with Peter Gerace,

Mr. Gerace acts as the General Manager and is vital to Pharaoh’s. My job responsibilities
include getting change for the bar, working and managing security, and closing at four
a.m. six nights a week. I would not be able to handle or take over Mr. Gerace’s job
responsibilities. Ido not have the computer knowledge or experience that Mr. Gerace
has to handle the bookkeeping, accounting, tax payments, banking etc. He is the only
person within the company who has knowledge and vast experience to keep the company
running. .

Mls Urax ff

Robert E. Werner Jr.
Pharaoh’s GC., Inc.
716.565.2050
